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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                   Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                    Defendant.




         NOTICE IN RESPONSE TO THE COURT’S ORDER OF JUNE 12, 2018

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby notifies the Court that on June 13, 2018, the government transmitted to counsel for

Manafort the information it was ordered to disclose by the Court’s June 12, 2018, Order granting

in part and denying in part the defendant’s motion for a bill of particulars, Doc. 321.



                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER, III
                                                      Special Counsel

Dated: June 13, 2018                  By:             /s/ Andrew Weissmann
                                                      Andrew Weissmann
                                                      Greg D. Andres (D.D.C. Bar No. 459221)
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